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                       UNITED STATES DISTRICT COURT
                          DISTRICT OF MINNESOTA

United States of America,

      Plaintiff,
v.                                                  MEMORANDUM OPINION
                                                          AND ORDER
                                                    Crim. No. 17-284 (02) (MJD)
Jose Manuel Ordonez,

      Defendant.
___________________________________________________________________________________

       Kimberly A. Svendsen, Assistant United States Attorney, Counsel for
Plaintiff.

      Defendant, pro se.

______________________________________________________________________

      This matter is before the Court on Defendant’s Second Pro Se Emergency

Motion for a Sentence Modification pursuant to 18 U.S.C. § 3582(c)(1)(A)(i). (Doc.

No. 181.)

I.    Background

      On February 13, 2018, Defendant pleaded guilty to Count 1 of the

Indictment which charged conspiracy to commit mail fraud in violation of 18

U.S.C. § 1349. On January 23, 2019, Defendant was sentenced to a term of

imprisonment of 120 months, followed by three years supervised release.


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Defendant was also ordered to pay restitution, jointly and severally with

defendants Buzaneli and Rivera in the amount of $51,369,169.88.


      To date, Defendant has served approximately 19 months of his 120 months

sentence. He is scheduled to be released from custody of the Bureau of Prisons

(“BOP”) on September 1, 2027.


      Defendant had previously moved for compassionate release, and that

motion was denied on June 30, 2020. (Doc. No. 177.) Defendant has now

renewed his motion for an Order reducing his sentence to time served or in the

alternative to home confinement claiming that the conditions at the prison

facility in which he is housed has worsened. He further asserts that he is obese,

which condition together with his heart irregularities and hypertension,

heightens the risk he will suffer serious injury if he contracts COVID-19.


II.   Motion to Reduce Sentence

      Pursuant to 18 U.S.C. § 3582(c)(1)(A), the court may, upon a defendant’s

motion following exhaustion of administrative remedies or the lapse of 30 days

from the receipt of such a request by the warden of the defendant’s facility,

whichever is earlier, “reduce the term of imprisonment (and may impose a term

of probation or supervised release with or without conditions that does not

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exceed the unserved portion of the original term of imprisonment), after

considering the factors set forth in section 3553(a) to the extent that they are

applicable, if it finds that-- (i) extraordinary and compelling reasons warrant

such a reduction . . . and that such a reduction is consistent with applicable

policy statements issued by the Sentencing Commission.”

      The United States Sentencing Guidelines define in pertinent part

“extraordinary and compelling reasons” due to medical condition of the

defendant as:


      (ii) The defendant is—

             (I) suffering from a serious physical or medical condition,

             (II) suffering from a serious functional or cognitive
             impairment, or

             (III) experiencing deteriorating physical or mental health
             because of the aging process,

      that substantially diminishes the ability of the defendant to provide
      self-care within the environment of a correctional facility and from
      which he or she is not expected to recover.

U.S.S.G. § 1B1.13, cmt. 1(A).


      There is no dispute that Defendant has exhausted his administrative

remedies.


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      As to the merits of Defendant’s motion, the government asserts that

Defendant has failed to notify the Court that he was diagnosed with an

asymptomatic case of COVID-19 in July 2020, and that he has since recovered

from the virus. (Govt Ex. 4, Updated BOP Medical Records.) After he was

diagnosed, Defendant was held in isolation and monitored, and he remained

asymptomatic. (Id.)


      Defendant is housed at Jesup FCI. The BOP website shows that on

November 9, 2020, there is one active case of an inmate with COVID and 19

active cases involving staff. There has been one inmate death, 238 inmates have

recovered and 3 staff have recovered. Defendant’s medical records indicate that

he did test positive for COVID, was asymptomatic and that he has recovered.


      Based on the submissions of the parties, as well as the Court’s previous

Order denying his first motion for compassionate release, the Court finds that

Defendant has again failed to show “extraordinary and compelling reasons” due

to medical condition or age. See U.S.S.G. § 1B1.13, cmt. 1(A). He has not

demonstrated that he suffers from a medical condition for which the BOP is

unable to provide him appropriate medical treatment or that he is particularly

vulnerable to the corona-virus.


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      Finally, the Court continues to find that a sentence reduction would be

contrary to the factors set forth in 18 U.S.C. § 3553(a).


      IT IS HEREBY ORDERED that Defendant’s Emergency Motion for

Sentence Modification (Doc No. 181) is DENIED.

Date: November 9, 2020

                                               s/ Michael J. Davis
                                               Michael J. Davis
                                               United States District Court




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